              Case 3:12-cv-00778-N Document 4 Filed 03/14/12                                        Page 1 of 1 PageID 11
             Case 3:12-cv-00778-N Document 50 Filed 07/29/13                                        Page 1 of 1 PageID 872
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                       REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                   TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court            Northern District of Texas- Dallas Division                       on the following
       G
       ✔ Trademarks or        G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      3:12-cv-00778-N                      3/14/2012                                Northern District of Texas- Dallas Division
PLAINTIFF                                                                    DEFENDANT
 Ryan, LLC                                                                     Ryan & Company, PC



        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2,676,976                                8/29/2009                              Ryan & Company

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         ✔ Amendment
                                                         G                      G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 4,182,001                                7/31/2012                     Ryan, LLC

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 Case closed per order of dismissal




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Karen Mitchell                                                 s/ C. Fisher                                                    7/29/2013

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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